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04/03/2024




Your Honor,

I am writing this letter in support of my brother, Paul Bateman, who is facing sentencing in your
court. I understand the gravity of the situation, and I appreciate the opportunity to provide
insight into his character.

I have known my brother for over 40 years, and throughout this time, I have witnessed firsthand
his positive qualities and contributions to our family. He has always been hard working and
helpful to my family and our aging parents. Growing up he was always there for advice and or
help without any question or judgment. My brother has always been a source of support and
help to my parents, especially my mother. Furthermore, my brother has been a hardworking
employee, taking pride in his work and strives to excel in everything he does.

Even though I am disappointed in my brothers’ actions. I firmly believe that my brother is
genuinely remorseful for his actions and is committed to making amends and rebuilding his life.
He understands the consequences of his choices. From speaking with him, he has stated he is
determined to learn from this experience and become a better person and productive member
of society.

I respectfully ask the court to consider my brother's character and his potential for
rehabilitation when determining an appropriate sentence. I am confident that with the support
of his family, he can overcome this, and emerge as a productive member of society once again.

Thank you for considering my input. If you require any further information or clarification,
please do not hesitate to contact me.

Sincerely,




John Bateman
